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                IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         )
                                                 )
               vs.                               )    Criminal No. 2:18-cr-292-RJC
                                                 )
ROBERT BOWERS,                                   )
                                                 )
                               Defendant.        )


                                    HEARING ON – Jury Trial

                                   Before Judge Robert J. Colville

Soo Song, AUSA                                   Elisa Long, AFPD
Troy Rivetti, AUSA                               Michael J. Novara, AFPD
Eric Olshan, AUSA                                Judy Clarke, Esq.
Mary Hahn, AUSA                                  Michael Burt, Esq.
Barry Disney, AUSA                               Ashwin Cattamanchi, Esq.
Nicole Vasquez Schmitt, AUSA                     Matthew Rubenstein, Esq.
Aaron Stewart, AUSA

Appear for U.S.A.                                Appear for Defendant

Hearing begun 8/2/23 at 11:30 AM                 Hearing adjourned to

Hearing concluded 8/2/23 at 12:20 PM             Stenographer: N. Re
                                                 Clerks: S. Armstrong, T. Klein, J. Lewis
                                                 Deputy: L. Kim


                                            REMARKS:

Jury deliberations continued. Jury returned a unanimous verdict of death for all capital
counts. Jury polled and dismissed. Verdict form to follow. All as further stated on the record.
